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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

        TALIK GARCIA, on behalf of himself, FLSA                     )
            Collective Plaintiffs, and the Class                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.   FY
                                                                     )
  POP A LOCK NEW YORK INC., AUTOMOTIVE                               )
LOCKSMITH SUPPLY INC., ALL CITY SERVICES &                           )
DISPATCH INC., CARL NAPOLITANO, NICHOLAS                             )
  NAPOLITANO, and JENNIFER CANNIZZARO,                               )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                                         6HH$WWDFKHG5LGHU




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: c/o C.K. Lee
                                           LEE LITIGATION GROUP, PLLC
                                           148 West 24th Street, 8th Floor
                                           New York, NY 10011
                                           Tel.: 212-465-1188


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                #3&//" #.")0/&:
                                                                                CLERK OF COURT


Date:                                                                       V3ULVFLOOD%RZHQV
                                                                                          Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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LEE LITIGATION GROUP, PLLC
C.K. Lee (CL 4086)
Anne Seelig (AS 3976)
148 West 24th Street, 8th Floor
New York, NY 10011
Tel.: 212-465-1188
Fax: 212-465-1181
Attorneys for Plaintiff, FLSA Collective
Plaintiffs, and the Class

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


TALIK GARCIA, on behalf of himself,
FLSA Collective Plaintiffs, and the Class,
                                               Case No.: 1:22-cv-05305
       Plaintiff,

       v.
                                               SUMMONS RIDER

POP A LOCK NEW YORK INC.,
AUTOMOTIVE LOCKSMITH SUPPLY INC.,
ALL CITY SERVICES & DISPATCH INC.,
CARL NAPOLITANO,
NICHOLAS NAPOLITANO, and
JENNIFER CANNIZZARO,

       Defendants.


POP A LOCK NEW YORK INC.
The Corporation
90 Pilot Lane
Staten Island, NY 10309

AUTOMOTIVE LOCKSMITH SUPPLY INC.
c/o Carl Napolitano
90 Pilot Lane
Staten Island, NY 10309

ALL CITY SERVICES & DISPATCH INC.
765 Forest Avenue
Staten Island, NY 10310
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CARL NAPOLITANO
765 Forest Avenue
Staten Island, NY 10310

NICHOLAS NAPOLITANO
765 Forest Avenue
Staten Island, NY 10310

JENNIFER CANNIZZARO
765 Forest Avenue
Staten Island, NY 10310
